                  Case 2:16-cv-01041-TSZ Document 162 Filed 10/03/22 Page 1 of 3




                                                                              Honorable Thomas S. Zilly
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 7                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                       WESTERN DISTRICT OF WASHINGTON
 8                                              SEATTLE DIVISION
 9

10    UNITED STATES OF AMERICA,              )
                                             )                 Case No. 2:16-cv-1041-TSZ
11             Plaintiff,                    )
                                             )                 STATUS REPORT
12             v.                            )
                                             )
13
      DAVID A. GOULD, et al.,                )
14                                           )
               Defendants.                   )
15    _______________________________________)
16

17             The United States submits this status report pursuant to the Court’s Order of March 10,

18   2020 (Dkt. 136). That Order stayed this action to allow for progress on settlement efforts.

19             Counsel for Defendant Jane Polinder recently provided the United States information that

20   addresses the outstanding issues between these two parties. After counsel for the United States

21   confirms that those issues are resolved, counsel will seek approval for a final agreement from the

22   appropriate authority at the Department of Justice.

23             The United States and Ms. Polinder thus should be able to reach a final resolution or

24   determine whether they must pursue a different course this month. Once that occurs, the United

25   States will take steps to resolve the remainder of the case.

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      STATUS REPORT                                                        U.S. DEPARTMENT OF JUSTICE
      Case No. 2:16-cv-1041-TSZ
                                                  1
                                                                           Tax Division, Western Region
                                                                           P.O. Box 683
                                                                           Washington, D.C. 20044
                                                                           Telephone: 202-514-6062
                  Case 2:16-cv-01041-TSZ Document 162 Filed 10/03/22 Page 2 of 3




 1   Dated: Oct. 3, 2022                           Respectfully submitted,
 2                                                 DAVID HUBBERT
 3                                                 Deputy Assistant Attorney General

 4                                                 /s/ Charles J. Butler
                                                   CHARLES J. BUTLER
 5                                                 Assistant Chief, CTS-Western
                                                   Tax Division, U.S. Department of Justice
 6
                                                   P.O. Box 683
 7                                                 Washington, D.C. 20044
                                                   202-514-6062 (v)
 8                                                 202-307-0054 (f)
                                                   Charles.J.Butler@usdoj.gov
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                                                   Counsel for the United States of America
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      STATUS REPORT                                               U.S. DEPARTMENT OF JUSTICE
      Case No. 2:16-cv-1041-TSZ
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                                                                  Telephone: 202-514-6062
                  Case 2:16-cv-01041-TSZ Document 162 Filed 10/03/22 Page 3 of 3




 1                                      CERTIFICATE OF SERVICE
 2             I hereby certify that on Oct. 3, 2022, I filed the foregoing with the Clerk of Court using
 3   the CM/ECF system, which will provide electronic notice to all parties that have appeared in this
 4   action.
 5

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 8
                                                             s/ Charles J. Butler
 9                                                           CHARLES J. BUTLER
                                                             Assistant Chief, CTS-Western
10
                                                             Tax Division
11                                                           U.S. Department of Justice

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      STATUS REPORT                                                          U.S. DEPARTMENT OF JUSTICE
      Case No. 2:16-cv-1041-TSZ
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